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*****Please be advised that the use of these forms may not be proper for your specific legal situation*****
****Please make an independent determination whether use of these forms is appropriate****

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

Stephanie H. Moore

§
§
§
§
§
§
(Enter full name of each Plaintiff, above) §
§
vs. § Civil Case No. |. /F -C.V- 10
Target Logistics Management § (To be assigned by Clerk of Court)
§
§ JURY TRIAL DEMANDED Llyes Kho
§ (Check one)
§
§
§
(Enter full name of each Defendant, above) §
COMPLAINT

I. JURISDICTION. State the grounds for filing this case in Federal Court (include federal statutes or
U.S. Constitutional provisions).

The grounds for filing this case in Federal Court are race and sex (gender) discrimination of the
Equal Pay Act (EPA) of 1963.

These violations occurred at Stanley Hotel a subsidiary of Target Logistics Management

913 4th St SW, Stanley, ND 58784.

The violations occurred between August 2013-September 2017.
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Il. PLAINTIFF. For each Plaintiff list: name and address including City, County and State.

Stephanie H. Moore
1661 Lasca Road
Thomasville, AL 36784
Marengo County

If. DEFENDANT. For each Defendant list: name and address including City, County and State.

Target Logistics Management
Dba Stanley Hotel

913 4th St SW

Stanley, ND 58784

Mountrail County
Case 1:19-cv-00101-DMT-CRH Document 4 Filed 06/12/19 Page 3 of 4

IV. CLAIM. State the facts of your claim. Include the name of each person involved, dates and
places. Be as specific as possible. Do not give any legal argument or cite any cases or statutes. Use
additional sheets of paper if necessary.

Hourly Pay plus Overtime was not equal to what others were paid, men and non-African Americans.

V. ADMINISTRATIVE PROCEDURES. If applicable, state whether your claim was heard by
any administrative agencies; the type of proceedings; the date and place of any proceedings; the
outcome of any administrative proceedings.

My claim was heard by: U.S. Equal Employment Opportunity Commission.

Type of proceedings: Dismissal and Notice of Rights.

Date: April 8, 2019.

Place: Chicago District Office, 500 West Madison St., Suite 2000, Chicago, IL 60661.

Outcome: The EEOC has adopted the findings of the state or local fair employment practices

agency that investigated this charge.
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VI. RELIEF. State what you want the Court to do for you.

I wish to be granted all back pay between August 2013-September 2017 for Hourly wages,

Overtime and Attorney fees.

VIL. SIGNATURE. Each Plaintiff must individually sign this complaint.

Signed this Lu day of IND 20/7.

 

 

Qin A Moon

Signatue of Plaintiff

pve Ft /Nooke

Signature of Plaintiff

 

Printed Name of Plaintiff

Lae/ kasca_ Koko

- Printed Name of Plaintiff

 

Mailing Address

omasn tle. AL 3678

Mailing Address

 

City, State, Zip Code

DEY-B94- 1777

City, State, Zip Code

 

 

Telephone Number of Plaintiff

Telephone Number of Plaintiff
